UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

No. 1:23-cv-02330
CHARLES BOYD,
Request to Extend time for
Plaintiff, Mediation

V.

LAYER CAKE CREATIVE SERVICES,

LLC, et. al.,
September 20, 2023
Defendants.
USDC SDNY
BY: ECF

DOCUMENT
ELECTRONICALLY FILED

Honorable Magistrate Judge Robert W. Lehrburger
United States District Court

og DOC #:
Southern District of New York mn. 9/21/2023
500 Pearl St. DATE FILED:

New York, NY 10007-1312

Request to Extend the Mediation Timeframe

Dear Judge Lehrburger:

We represent the Parties in the above-captioned action. We have communicated with
the assigned Mediator, Mr. Anthony J. Constantini, Esq. concerning a date for the
Court-ordered mediation (dkt. # 59). Mr. Constantini was assigned on 8.23.2023.

At that time, the Parties wrote jointly to him to explain that there was already an almost
four-year old companion case in New Jersey concerning the same underlying dispute,
(Boyd v. Clark, et. al. HUD L-000752-20). This case, and the cause of action of Civil Rico,
was brought by Plaintiffs before this Court largely as a result of discovery in that NJ
case. Defendants in that case are represented by Mr. Brian Rader, Esq.

We explained to Mr. Constantini that all counsel believe that for this matter to
successfully resolve in mediation, Mr. Rader should be present and the issues
concerning that case also discussed to ensure a global settlement. All counsel still
believe that mediation may be successful.

Mr. Constantini has graciously and prudently agreed to permit Mr. Rader’s
participation. However, finding a mediation time with three sets of counsel can be a bit
like herding cats. Mr. Rader strongly expects to be on trial the week Mr. Constantini

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suggested (October 24-27"). All counsel plan to speak on a conference call to
compare calendars and set a date and time. Mr. Constantini is indisposed on vacation

with limited communication access until next week.

For these reasons, we seek an extension of the time to set the mediation date, set
forth in dkt. #59, for an additional two weeks. This is a first request for an extension of

time to set a mediation date.

Respectfully submitted,

/s/ Edward Carlson /s/ Michael R. Horenstein

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Michael R. Horenstein

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Granted.

SO ORDERED:
9/21/2023 je-—~

HON. ROBERT W. LEHRBURGER
UNITED STATES MAGISTRATE JUDGE
